               Case 1:11-cv-03743-LGS Document 947 Filed 10/16/20 Page 1 of 4

                                         SIDLEY AUSTIN LLP
                                         ONE SOUTH DEARBORN STREET
                                         CHICAGO, IL 60603
                                         +1 312 853 7000
                                         +1 312 853 7036 FAX
                                                                                                                        CKENNEY@SIDLEY.COM
                                         AMERICA • ASIA PACIFIC • EUROPE                                                +1 312 853 4166

                                                                                By October 20, 2020, Plaintiffs shall file any
                                                               October 14, 2020 responsive letter in opposition to
 VIA ECF                                                                        Defendant's request.
 Honorable Lorna G. Schofield                                                                          So Ordered.
 United States District Court
 Southern District of New York
                                                                                                       Dated: October 16, 2020
 500 Pearl Street
                                                                                                              New York, New York
 New York, New York 10007

               Re:

Dear Judge Schofield: Kassman, et al. v. KPMG LLP, Case No. 11-cv-03743 (LGS)

        In accordance with the Court’s October 1, 2020 Order (Dkt. 942), the Parties have filed a
Proposed Order dismissing certain former opt-in plaintiffs who have submitted Verified Fact
Sheets and have stipulated to the dismissal of their claims. (Dkt. 943). Pursuant to Rule I.D.3 of
this Court’s Individual Rules and Procedures for Civil Cases and Section 10(a) of the Stipulated
Protective Order, Defendant KPMG LLP (“KPMG”) respectfully submits this letter motion
proposing that certain limited and discrete information in Exhibit A to the Proposed Order be
redacted and sealed. In accordance with Rule I.D.3, KPMG has publicly filed the Exhibit with
the proposed redactions and has electronically filed under seal a copy of the unredacted Exhibit
with the proposed redactions highlighted.

         The proposed redactions in question are carefully and narrowly limited to text disclosing
employee personnel and personal information, specifically, the employee identification number
(EEID) of the former opt-in plaintiffs. Individuals utilize their EEIDs to access certain personnel
systems that contain additional personnel and personal information and disclosing them publicly
could put this sensitive information at risk. See also Murphy v. Rochester City Sch. Dist., 2002
WL 31322639, at *1-4 (W.D.N.Y. Sept. 30, 2002) (sealing employee personnel information).
KPMG thus respectfully requests that the Court order that the EEIDs of each of the individuals
listed in Exhibit A be publicly docketed only with KPMG’s redactions, and unredacted versions
be filed under seal, to be accessed by all attorneys of record, as noted in the attached appendix.

                                                                                  Very truly yours,

                                                                                  /s/ Colleen M. Kenney

                                                                                  Colleen M. Kenney

CC: All Counsel of Record, via ECF



                        Sidley Austin LLP is a limited liability partnership practicing in affiliation with other Sidley Austin partnerships.


261948426v.1
         Case 1:11-cv-03743-LGS Document 947 Filed 10/16/20 Page 2 of 4




Honorable Lorna G. Schofield
Page 2

                                         APPENDIX

Pursuant to Individual Rule I.D.3, KPMG identifies below all parties and attorneys of record
who should have access to the sealed document:

 Party                                  Counsel of Record

 Plaintiffs                             Kelly Dermody
                                        Lieff Cabraser Heimann & Bernstein, LLP(SF)
                                        275 Battery Street, 30th Floor
                                        San Francisco, CA 94111-3339
                                        (415) 956 1000
                                        (415) 956 1008 (fax)
                                        kdermody@lchb.com

                                        Rachel Geman
                                        Lieff Cabraser Heimann & Bernstein, LLP (NY)
                                        rgeman@lchb.com

                                        Michelle Lamy
                                        Lieff Cabraser Heimann & Bernstein, LLP (SF)
                                        mlamy@lchb.com

                                        Michael Ian Levin-Gesundheit
                                        Lieff Cabraser Heimann & Bernstein, LLP(SF)
                                        mlevin@lchb.com

                                        Anne B. Shaver
                                        Lieff Cabraser Heimann & Bernstein, LLP (SF)
                                        ashaver@lchb.com

                                        Tiseme Gabriella Zegeye
                                        Lieff Cabraser Heimann & Bernstein, LLP (SF)
                                        tzegeye@lchb.com

                                        Conor Daniel Ahern
                                        Sanford Heisler Sharp LLP (DC)
                                        700 Pennsylvania Ave. SE Suite 300
                                        Washington, DC 20003
                                        202-499-5208
                                        202-499-5199 (fax)
                                        cahern@sanfordheisler.com
         Case 1:11-cv-03743-LGS Document 947 Filed 10/16/20 Page 3 of 4




Honorable Lorna G. Schofield
Page 3

 Party                            Counsel of Record

                                  Saba Bireda
                                  Sanford Heisler Sharp, LLP (DC)
                                  sbireda@sanfordheisler.com

                                  Jeremy Heisler
                                  Sanford Heisler Sharp, LLP (NYC)
                                  jheisler@sanfordheisler.com

                                  Thomas J Henderson
                                  Sanford Heisler Sharp, LLP (DC)
                                  thenderson@sanfordheisler.com

                                  Katie Mueting
                                  Sanford Heisler Sharp, LLP (DC)
                                  kmueting@sanfordheisler.com

                                  Shaun Rosenthal
                                  Sanford Heisler Sharp, LLP (DC)
                                  srosenthal@sanfordheisler.com

                                  David W. Sanford
                                  Sanford Heisler Sharp, LLP (DC)
                                  dsanford@sanfordheisler.com

                                  Jennifer Siegel
                                  Sanford Heisler Sharp, LLP (NYC)
                                  jsiegel@sanfordheisler.com

                                  Leigh Anne St. Charles
                                  Sanford Heisler Sharp, LLP (Nashville)
                                  lstcharles@sanfordheisler.com

 Defendant KPMG LLP               Peter O. Hughes
                                  Ogletree Deakins
                                  10 Madison Avenue Suite 400
                                  Morristown, NJ 07960
                                  973-656-1600
                                  973-656-1611 (fax)
                                  peter.hughes@ogletreedeakins.com
         Case 1:11-cv-03743-LGS Document 947 Filed 10/16/20 Page 4 of 4




Honorable Lorna G. Schofield
Page 4

 Party                            Counsel of Record

                                  Stephanie Lauren Aranyos
                                  Ogletree Deakins (NYC)
                                  stephanie.aranyos@ogletreedeakins.com

                                  Chris R. Pace
                                  Ogletree Deakins (Kansas City)
                                  chris.pace@ogletreedeakins.com

                                  Diane Marjorie Saunders
                                  Ogletree Deakins (Boston)
                                  diane.saunders@ogletreedeakins.com

                                  Colleen M. Kenney
                                  Sidley Austin LLP
                                  One S. Dearborn St.
                                  Chicago, IL 60603
                                  (312) 853-7000
                                  (312) 853-7036 (fax)
                                  ckenney@sidley.com

                                  Eric G. Hoffman
                                  Sidley Austin LLP (NY)
                                  eghoffman@sidley.com

                                  Wendy M. Lazerson
                                  Sidley Austin LLP (Palo Alto)
                                  wlazerson@sidley.com

                                  John Gerson Levi
                                  Sidley Austin LLP (Chicago)
                                  jlevi@sidley.com

                                  Melanie Elizabeth Walker
                                  Sidley Austin LLP (Chicago)
                                  mewalker@sidley.com
